Case 2:16-cr-00287-JLR   Document 356   Filed 06/26/17   Page 1 of 7
Case 2:16-cr-00287-JLR   Document 356   Filed 06/26/17   Page 2 of 7
Case 2:16-cr-00287-JLR   Document 356   Filed 06/26/17   Page 3 of 7
Case 2:16-cr-00287-JLR   Document 356   Filed 06/26/17   Page 4 of 7
Case 2:16-cr-00287-JLR   Document 356   Filed 06/26/17   Page 5 of 7
Case 2:16-cr-00287-JLR   Document 356   Filed 06/26/17   Page 6 of 7
Case 2:16-cr-00287-JLR   Document 356   Filed 06/26/17   Page 7 of 7
